

People v Smith (2025 NY Slip Op 02463)





People v Smith


2025 NY Slip Op 02463


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, GREENWOOD, AND HANNAH, JJ.


206 KA 20-00478

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vBRIAN SMITH, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (AXELLE LECOMTE MATHEWSON OF COUNSEL), FOR DEFENDANT-APPELLANT.
MICHAEL J. KEANE, DISTRICT ATTORNEY, BUFFALO (HARMONY A. HEALY OF COUNSEL), FOR RESPONDENT.


	Appeal from a judgment of the Supreme Court, Erie County (Deborah A. Haendiges, J.), rendered August 19, 2019. The judgment convicted defendant upon a guilty plea of attempted rape in the third degree. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in People v Smith ([appeal No. 2] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








